                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA

ERIC KINSINGER, et al.,                          )
           Plaintiffs,                           )
                                                 )
               v.                                )           3:17-cv-643-FDW-DCK
                                                 )
SMARTCORE, LLC, et al.,                          )
        Defendants.                              )

                      ORDER DESIGNATING EXEMPT PROPERTY

       The matter is before the Clerk on Defendant Steven Matthew Good’s Notice to Claim

Exempt Property (Statutory Exemptions) (Doc. 150). Plaintiffs have not filed any objections to

Defendant Good’s Notice in accordance with N.C. Gen. Stat. § 1C-1603(e)(5) (providing that

“[t]he judgment creditor has 10 days from the date served with a motion and schedule of assets . .

. to file an objection to the judgment debtor’s schedule of exemptions”).

       Accordingly, for good cause, and without any objection from Plaintiffs, it is hereby

ORDERED that Defendant Good’s requested statutory exemptions are GRANTED, within the

limits set forth in his Notice to Claim Exempt Property (Doc. 150) and as allowed by state law

pursuant to § 1C-1601 of the North Carolina General Statutes. See N.C. Gen. Stat. § 1C-1603(e)(6)

(providing that “[i]f the judgment creditor files no objection to the schedule filed by the judgment

debtor . . . the clerk must enter an order designating the property allowed by law and scheduled by

the judgment debtor as exempt property”).



                                         November 6, 2020




     Case 3:17-cv-00643-FDW-DCK Document 158 Filed 11/06/20 Page 1 of 1
